Case 20-18448-JKS   Doc 17    Filed 12/30/20 Entered 12/30/20 21:41:14   Desc Main
                             Document      Page 1 of 14
Case 20-18448-JKS            Doc 17      Filed 12/30/20 Entered 12/30/20 21:41:14                     Desc Main
                                        Document      Page 2 of 14




                    ADDENDUM TO REQUEST FOR PAYMENT OF
                 ADMINISTRATIVE EXPENSE OF CEDOT REALTY CORP.

                                I.       PRELIMINARY STATEMENT

                 1.       This addendum (the “Addendum”)1 is intended to be attached to,

incorporated into and made a part of, by this reference thereto, the Request for Payment of

Administrative Expense in Accordance with D.N.J. LBR 3001-1 form being filed by and on behalf

of Cedot Realty Corp. (“Cedot” or the “Landlord”) together and simultaneously with this

Addendum (together, the “Administrative Claim”).

                 2.       On or about November 3, 2020, Cedot timely filed its proof of claim, which

has been assigned claim number 1116 on the claims register maintained by the Debtors’ claims

agent, Prime Clerk LLC (the “Proof of Claim”). In the Proof of Claim, in addition to the general

unsecured claims asserted therein, Cedot identified the amounts to which it believed it was entitled

as a priority expense of administration as of the date of the Proof of Claim. To the extent of any

inconsistencies between the claims and amounts identified in the Proof of Claim as priority

expenses of administration, and asserted in this Administrative Claim, this Administrative Claim

shall control. As set forth in the Proof of Claim, to the extent the amounts set forth in this

Administrative Claim, or any portion thereof, are not allowed and paid as priority administrative

expense claims, such claims and amounts are asserted in the alternative as general unsecured

claims, and to the extent allowed and paid as priority administrative claims, such payments would

reduce the claim amounts asserted in the alternative as a general unsecured claim in the Proof of

Claim to the extent of such payments.


1
 Capitalized terms not otherwise defined herein shall have the meaning assigned to them in the “Proof of Claim”, as
hereinafter defined, and in the “Plan”, as hereinafter defined.
Case 20-18448-JKS              Doc 17      Filed 12/30/20 Entered 12/30/20 21:41:14                      Desc Main
                                          Document      Page 3 of 14



                    3.       Cedot hereby asserts, reserves, and preserves all claims, rights, and interests

whether arising under contract, statute, common law, other law, equity, or otherwise, and whether

contingent or fixed, liquidated or unliquidated, or otherwise, against Lerner New York, Inc. in the

bankruptcy case assigned case number 20-18448 (“Lerner”, “Tenant”, or the “ Debtor”), as

jointly administered with the cases of its affiliates, including RTW Retailwinds, Inc. under case

no. 20-18445 (JKS) (collectively, the “Debtors” and the “Bankruptcy Cases”, as applicable)

pending in the United States Bankruptcy Court for the District of New Jersey (the “Bankruptcy

Court”), and jointly and severally against each of the Debtors in each of the Bankruptcy Cases. In

an abundance of caution, this Administrative Payment Request will be filed on the dockets of both

Lerner and the Debtors, but to be clear they are one and the same administrative expense claim.

                    4.       By order dated December 10, 2020, on December 11, 2020, the Bankruptcy

Court entered the “Findings of Fact, Conclusions of Law, and Order Confirming the Joint Plan of

Liquidation of RTW Retailwinds, Inc. and Affiliated Debtors Pursuant to Chapter 11 of the

Bankruptcy Code” [Docket No.690 ] (the “Confirmation Order”) Confirming the Joint Plan of

Liquidation of RTW Retailwinds, Inc. and Affiliated Debtors Pursuant to Chapter 11 of the

Bankruptcy Code [Docket No. 390] (as further modified, supplemented and amended including all

attachments and exhibits thereto, the “Plan”). This Administrative Claim is being asserted in

compliance with the Confirmation Order and the Plan.

                                                 II. THE LEASE

                    5.       Cedot is successor in interest to Carlton Properties, Inc., as landlord, to the

lease agreement dated January 15, 1955, as subsequently amended on January 31, 1995, October

18, 2004, and September 30, 2014 (collectively, the “Lease”2), under which Lerner, as tenant and


2
    Capitalized terms not otherwise defined herein shall have the meaning assigned to them in the Proof of Claim.
                                                           2
Case 20-18448-JKS         Doc 17     Filed 12/30/20 Entered 12/30/20 21:41:14                Desc Main
                                    Document      Page 4 of 14



successor in interest to New York Lerner Company, Inc., leased the real property known as 57-23

and 57-25 Myrtle Avenue and 912-914-916 Onderdonk Avenue, Ridgewood, Queens, New York,

218 First Avenue, New York, NY 10009 (the “Premises”). A copy of the Lease is appended to the

Proof of Claim (and is incorporated herein for such purpose and copies of the Lease will be

supplied upon request).

                6.      The Debtor occupied and operated a retail store on the Premises. The Lease

is a “net lease” and the terms of the Lease provide, inter alia, that the Debtor shall be responsible

for, among other things, the payment of a minimum annual rent and additional rent, including, but

not limited to, taxes, water, sewer, or other charges and assessments, foreseen and unforeseen,

general, or special, as well as for utilities, light, heat, electricity, and gas. The Debtors’ obligations

pursuant to the Lease are more fully set forth in the Proof of Claim (which is incorporated herein

for such purpose). The Lease was rejected effective September 30, 2020 pursuant to the Order of

the Bankruptcy Court dated October 16, 2020, Docket No. 471.

    III.    ADMINISTRATIVE CLAIM/ ADMINISTRATIVE EXPENSE AMOUNT

                7.      The Debtor continued to use and occupy the Premises for the time period

between the Petition Date and the date on which it surrendered and rejected the Lease effective

September 30, 2020 (the “Administrative Expense Period”). Accordingly, in addition to the

general unsecured pre-petition and lease rejection damages claims asserted in the Proof of Claim,

Cedot asserts this Administrative Claim. This Administrative Claim, asserted in the amount of no

less than $79,884.00, plus additional interest, costs, and expenses accruing thereon until paid, is

asserted herein as an administrative expense for obligations due, owing, and accruing under the

Lease relating to the Administrative Expense Period under and pursuant to section 503(b) of the

Bankruptcy Code entitled to priority under section 507(a)(2) of the Bankruptcy Code, and

                                                    3
Case 20-18448-JKS            Doc 17      Filed 12/30/20 Entered 12/30/20 21:41:14                      Desc Main
                                        Document      Page 5 of 14



alternatively pursuant to section 365(d)(3) of the Bankruptcy Code (the “Administrative Expense

Amount”).3 This Administrative Claim remains subject to possible adjustments and amendments

as additional information is obtained by Cedot. Such stated amount is in no way a cap, limitation,

or waiver as to any claim, right, or interest asserted by Cedot. To the extent the Administrative

Claim Amount or any portion thereof is not afforded administrative priority status, it is asserted in

the alternative as a general unsecured claim. To the extent paid as an administrative claim, it would

reduce such amounts asserted in the alternative as a general unsecured claim in the Proof of Claim.

                       IV. CALCULATION OF ADMINISTRATIVE CLAIM

The calculation and documentation of Cedot’s Administrative Claim is set forth in Schedule “A”
hereto.
                           V. RESERVATION OF RIGHTS

                  8.       This Administrative Claim is filed with a full reservation and preservation

of Cedot’s claims, interests, rights, defenses, and remedies, including without limitation:

                  (a) to amend, clarify and/or supplement this Administrative Claim at any time and

in any respect, including without limitation, as necessary or appropriate to amend, quantify or

correct amounts, to add or amend categories of payments or liabilities;

                  (b) to assert in addition to the Administrative Expense Amount, other and further

amounts and claims to which Cedot may be entitled and may be due on account of contingent

and/or unliquidated amounts under the Lease or otherwise;

                  (c) to assert claims for any breaches of the Lease and/or the impairment of any of

Cedot’s rights or interests, including property interests, in the Bankruptcy Cases or otherwise, as


3
  The Plan provides this definition in relevant part: “Administrative Claim” …any Claim against the Debtors or their
Estates for costs and expenses of administration pursuant to sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the
Bankruptcy Code, including: (a) the actual and necessary costs and expenses incurred after the Petition Date and
through the Effective Date of preserving the Estates and operating the businesses of the Debtors (such as wages,
salaries, or commissions for services and payments for goods and other services and leased premises) and…..”
(Emphasis added).
                                                         4
Case 20-18448-JKS         Doc 17    Filed 12/30/20 Entered 12/30/20 21:41:14               Desc Main
                                   Document      Page 6 of 14



well as for interest, fees, expenses, professional fees, and other charges relating to the Lease or

otherwise;

               (d) to assert this claim, or other and further claims as a secured claim to the extent

secured, as a priority claim to the extent accorded priority under the Bankruptcy Code or applicable

law, and/or as an administrative expense claim to the extent arising post-petition or on account of

post-petition provision of services or goods, or to the extent otherwise accorded administrative

expense status under the Bankruptcy Code;

               (e) to assert all rights of setoff and recoupment whether arising under the Lease,

statute, common law, other law, equity, or otherwise;

               (f) to assert all lien rights and security interests whether arising under the Lease,

statute, common law, other law, equity, or otherwise; provided however to the extent its claim is

not secured, subject to setoff or recoupment, or entitled to priority or administrative expense status,

Cedot asserts such claim as a general unsecured claim;

               (g) to assert additional, modified, supplementary and/or amended proofs of, and

requests for payment of, Administrative Claims, or to withdraw this Administrative Claim;

               (h) to assert additional claims based upon any as yet unidentified post-petition

breaches of the Lease;

               (i) to request payment of administrative expenses based on, among other things

(and without limitation), events, information, and/or documents obtained from the Debtors in the

Bankruptcy Cases or third parties through discovery or otherwise;

               (j) to assert rights and/or claims against any non-Debtor or property other than the

Debtor or the Debtor’s property, including without limitation, as against third parties and other

Debtors or the property of other Debtors in the Bankruptcy Cases;

                                                  5
Case 20-18448-JKS         Doc 17     Filed 12/30/20 Entered 12/30/20 21:41:14               Desc Main
                                    Document      Page 7 of 14



                (k) to assert claims and rights of and for indemnification and/or subrogation,

including without limitation, for or on account of attorneys’ fees and expenses;

                (l) to assert Cedot’s interest in any property, including property of the estate(s);

                (m) to assert any cause of action against the Debtors in the Bankruptcy Cases not

constituting a “claim” under 11 U.S.C. § 101(5);

                (n) to amend this Administrative Claim to include, inter alia, claims for

indemnification, reconciliations and other unpaid lease obligations;

                (o) to seek payment under 11 U.S.C. §§ 365(d)(3) or 503(b), of any and all unpaid

rent, real estate taxes, and reimbursement for damage to the leased premises and other amounts

arising in or attributable to the period from and after the Petition Date; and

                (p) to file such motions in the Bankrupty Court or other courts of competent

jurisdiction, or seek such judicial intervention and relief as may be necessary, to compel payment

of the Administrative Claim, and/or to otherwise protect the rights and interests of Cedot.

                9.      The filing of this Administrative Claim is not: (i) a waiver or release of any

rights of Cedot against any person, entity, or property; (ii) consent by Cedot to the jurisdiction of

this Court, or to its exercise of the judicial power or to its entry of final orders and judgments, with

respect to the subject matter of this claim, any objections or other proceedings commenced with

respect thereto or any other proceedings commenced in the Bankruptcy Cases or otherwise

involving Cedot; or (iii) a waiver of the right of Cedot to move to withdraw the reference, or

otherwise to challenge the jurisdiction of, or the exercise of the judicial power by, this Court with

respect to the subject matter of this claim, any objections or other proceedings commenced with

respect thereto or any other proceedings commenced in this case against, or otherwise involving,

Cedot.

                                                   6
Case 20-18448-JKS         Doc 17    Filed 12/30/20 Entered 12/30/20 21:41:14               Desc Main
                                   Document      Page 8 of 14



               10.     This Administrative Claim shall not be deemed to be a waiver of Cedot’s

right (1) to have final orders in non-core matters be entered only after a de novo review by a District

Court Judge, (ii) to trial by jury in any proceeding so triable in these cases or any case, controversy

or proceeding related to these cases, (iii) to have the District Court withdraw the reference in any

matter subject to mandatory or discretionary withdrawal; or (iv) to any other rights claims, actions,

defenses, setoffs, or rights of recoupment to which Cedot is or may become entitled in law, equity,

all of which rights, claims actions, defenses, setoffs and recoupments Cedot expressly reserves.

                                          VI. NOTICES

               11.     Notices regarding this Administrative Claim must be sent to each of the

following (copies of all notices should also be sent by email to counsel for Cedot but such emails

shall not independently constitute notice):

Cedot Realty Corp.                                             Rosen & Associates, P.C.
c/o Rosedale Management Co.                                    Attorneys for Cedot Realty Corp.
Attn: Elizabeth Crane                                          Attn: Christine McCabe Dehney
21 West 38th Street, 8th Floor                                 4609 Bedford Boulevard
New York, NY 10018                                             Wilmington, DE 19803


Phone numbers and email addresses for Attorneys for Cedot Realty Corp.:

Rosen & Associates, P.C. – (212) 223-1100

Christine McCabe Dehney – (302) 354-2166                       cmccabedehney@rosenpc.com

John H. Drucker – (917) 862 2720                               jdrucker@rosenpc.com.




                                                  7
Case 20-18448-JKS   Doc 17    Filed 12/30/20 Entered 12/30/20 21:41:14   Desc Main
                             Document      Page 9 of 14




                                   Schedule “A”
Calculation and Documentation of Administrative Claim of Cedot Realty Corp.
Case 20-18448-JKS          Doc 17    Filed 12/30/20 Entered 12/30/20 21:41:14                 Desc Main
                                    Document     Page 10 of 14


                                   SCHEDULE “A”
TO ADDENDUM TO REQUEST FOR PAYMENT OF ADMINISTRATIVE EXPENSE OF CEDOT REALTY CORP.***

                           CALCULATION OF ADMINISTRATIVE EXPENSE CLAIM

Base Rent 1……………………………………………………………………………………………….$                                          0.00

Real Estate Taxes, and Related Interest and Charges2 ………………………………$                    79,884.00

Utilities3 …………………………………………………………………………………………………..$                                         0.00

______________________________________________________________________________

TOTAL                                                                     $           79,884.00


1.     Base rent for the post-petition period of 7/13/20 through 9/30/20 Lease Rejection Date has
been paid.


2.      Real Estate taxes and related charges for the post-petition period of 7/13/20 Petition Date
through the 9/30/20 Lease Rejection Date = $73,106.40*, plus $6,777.68** for interest and charges for
same period (see additional documentation annexed here, and as Exhibit 1 to the Proof of Claim).
Additional interest and charges from and after 9/30/20 not included in calculation but continue to
accrue until paid, and Cedot reserves the right to amend or supplement the amounts reflected herein.


        *Taxes and Charges: Real estate taxes for the period of 7/1/20 through 12/31/20 total
$168,144.88; there are 184 days from 7/1/20 through 12/31/20; and 80 days from 7/13/20 through
9/30/20. The total amount of taxes for the period ($168,144.88) divided by the total number of days for
the period (184), shows the daily tax of $913.83 which, multiplied by 80 days equals $73,106.40.


        **Interest and additional charges on account of unpaid Taxes accruing 7/1/20 through 9/30/20;
7/1/20 - 9/30/20 = 92 days; $7,794.33 divided by 92 = $84.72 per day x 80 days post-petition through
the Lease Rejection Date (7/13/20-9/30/20) = $6,777.60 total, post-petition.


3.      “ Utilities” includes water, sewer, electricity and oil. No payment is due on account of Utilities
for the Administrative Expense Period as of this date, however, Cedot reserves its right to assert a claim
on account of utility payments due under the Lease as administrative expenses.



***Capitalized terms utilized in this Schedule shall, unless otherwise defined herein, have the meanings
ascribed to them in the Addendum to which this Schedule is annexed.
                                                                   93090352006060100140001YYYP
                    Case 20-18448-JKS          Doc 17    Filed 12/30/20 Entered 12/30/20 21:41:14           Desc Main
                                                        Document     Property
                                                                     Page 11 of 14 Tax Bill
                                                                     Quarterly Statement
                                                                     Activity through June 6, 2020

             Owner name: CEDOT REALTY CORP                                         Mailing address:
             Property address: 57-23 MYRTLE AVE.                                   NEW YORK AND COMPANY
             Borough, block & lot: QUEENS (4), 03466, 0058                         330 W. 34TH ST. FL. 7
                                                                                   NEW YORK NY 10001-2406




             Outstanding Charges                                   $0.00

             New Charges                                     $168,144.88

             Amount Due                                      $168,144.88

                                                        Please pay by July 1, 2020




PTS - LD
1400.01
41 - 0 - 4
107968


                                       PLEASE INCLUDE THIS COUPON IF YOU PAY BY MAIL OR IN PERSON 4-03466-0058
                                                                                                  Pay Today The Easy Way
                                                                                                      nyc.gov/payonline
             Total amount due by July 1, 2020                                                                $168,144.88
             If you want to pay everything you owe by July 1, 2020 please pay                                $334,332.93



                                                                               Amount enclosed:

                 #930903520060601#
                                                                             Make checks payable & mail payment to:
                      NEW YORK AND COMPANY                                   NYC Department of Finance
                      330 W. 34TH ST. FL. 7                                  P.O. Box 680
                      NEW YORK NY 10001-2406                                 Newark NJ 07101-0680




         9309035200606 01 4034660058 0000016814488 0000033433293 200701112021000                                           7
       Case 20-18448-JKS                   Doc 17        Filed 12/30/20 Entered 12/30/20 21:41:14
                                                             Statement Details
                                                                                                                                        Desc Main
                                                                                                                                                June 6, 2020
                                                        Document     Page 12 of 14                                                                  Cedot Realty Corp
                                                                                                                                                     57-23 Myrtle Ave.
                                                                                                                                                        4-03466-0058
                                                                                                                                                              Page 2




Previous Charges                                                                                                                                         Amount
Total previous charges including interest and payments                                                                                                       $0.00

Current Charges                                              Activity Date Due Date                                                                    Amount
Finance-Property Tax                                                       07/01/2020                                                               $161,182.92
Myrtle Avenue BID- Chg                                                     07/01/2020                                                                 $6,616.96
Bldg-Signs- Chg 4S8900024                                                  07/01/2020                                                                    $70.00
Bldg-Signs- Chg 4S0009813                                                  07/01/2020                                                                   $100.00
Tax Commission Fee- Fee                                                    07/01/2020                                                                   $175.00
Total current charges                                                                                                                               $168,144.88

Tax Year Charges Remaining                      Activity Date Due Date                                                                                 Amount
Finance-Property Tax                                           01/01/2021                                                                           $161,182.92
Myrtle Avenue BID- Chg                                         01/01/2021                                                                             $6,616.96
Total tax year charges remaining                                                                                                                    $167,799.88
If you want to pay everything you owe by July 1, 2020 please pay                                                                                    $334,332.93
If you pay everything you owe by July 1, 2020, you would save:                                                                                        $1,611.83

Annual Property Tax Detail
                                                                                          Overall
Tax class 4 - Commercial Or Industrial                                                   Tax Rate
 Current tax rate                                                                       10.5370%
Estimated Market Value $7,478,000
                                                                                                                                                          Taxes
Billable Assessed Value                                                          $3,059,370
Taxable Value                                                        $3,059,370 x 10.5370%
Tax Before Abatements and STAR                                                 $322,365.84                                                      $322,365.84
Annual property tax                                                                                                                             $322,365.84

For information about the interest rate charged on late payments, visit nyc.gov/taxbill.




          Home banking payment instructions:

          1. Log into your bank or online bill pay website.
          2. Add the new payee: NYC DOF Property Tax. Enter your account number, which is your boro,
             block and lot, as it appears here: 4-03466-0058 . You may also need to enter the address for the
             Department of Finance. The address is P.O. Box 680, Newark NJ 07101-0680.
          3. Schedule your online payment using your checking or savings account.

                                                Did Your Mailing Address Change?
                               If so, please visit us at nyc.gov/changemailingaddress or call 311.

               When you provide a check as payment, you authorize us either to use information from your check to make a one-time electronic fund
                                         transfer from your account or to process the payment as a check transaction.
       Case 20-18448-JKS          Doc 17    Filed 12/30/20 Entered 12/30/20 21:41:14
                                                Statement Details
                                                                                                    Desc Main
                                                                                                            June 6, 2020
                                           Document     Page 13 of 14                                       Cedot Realty Corp
                                                                                                             57-23 Myrtle Ave.
                                                                                                                4-03466-0058
                                                                                                                      Page 3




If you own income-producing property, you must file a Real Property Income and Expense (RPIE) statement or a claim of
exclusion unless you are exempt by law. You must also file information about any ground or second floor commercial
units on the premises, even if you are exempt from filing an RPIE statement. The deadline to file is July 1, 2020. RPIE
filers whose properties have an actual assessed value of $750,000 or greater will be required to file an addendum
containing rent roll information. The deadline to file this addendum is September 1, 2020. Failure to file will result in
penalties and interest, which will become a lien on your property if they go unpaid. Visit www.nyc.gov/rpie for more
information.

"The NYC Health Department would like to remind property owners that they must remove standing water, as mosquitos
can breed in warm weather. For more information, please visit nyc.gov/health or call 311
Case 20-18448-JKS   Doc 17    Filed 12/30/20 Entered 12/30/20 21:41:14   Desc Main
                             Document     Page 14 of 14
